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                          IN THE UNITED STATE DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


ARTHUR BAKER,                                                  Case No. 2:20-cv-376

       Plaintiffs,

v.                                                       COMPLAINT AND DEMAND
                                                            FOR JURY TRIAL
CLEARWATER COUNTY, CITY OF
OROFINO, AMANDA BARLOW, MATT
RUSSELL, and CHRIS GOETZ,

       Defendants.

        ARTHUR BAKER, for cause of action against the above-named defendants, alleges as

follows:

        1.      This is an action for money damages and declaratory and injunctive relief arising

under 42 U.S.C. §1983, under the Fourth and Fourteenth Amendments to the United States

Constitution, the Idaho Tort Claims Act (ITCA), Idaho Code § 6-901, et seq., and Idaho common

law.

        2.      This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1331, 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4), and 28 U.S.C. § 1367.


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        3.      Venue is proper under 28 U.S.C. § 1391(b).

        4.      Plaintiff is, and at all times material hereto was, a married 73-year-old resident of

Clearwater County, Idaho, and the owner of certain property in Clearwater County on which he

resides.

        5.      Defendant Clearwater County is, and at all times material hereto was, a political

subdivision of the State of Idaho acting pursuant to its official, established policies, procedures, and

practices.

        6.      Defendant City of Orofino is, at all times material hereto was, a political subdivision

of the State of Idaho, acting pursuant to its official, established policies, procedures, and practices.

        7.      Defendant Chris Goetz is, and at all times material hereto was, the duly elected

Sheriff of Clearwater County, Idaho, acting in his official and individual capacity within the course

and scope of his office as Sheriff and pursuant to Clearwater County’s established policies,

procedures, and practices.

        8.      Defendant Amanda Barlow was, at all times material hereto, a duly appointed Deputy

Sheriff, acting in her individual capacity within the course and scope of her employment with

defendant Clearwater County and pursuant to its established policies, procedures, and practices.

        9.      Defendant Matt Russell was, at all times material hereto, a duly appointed officer for

the Orofino City Police Department, acting in his individual capacity within the course and scope

of his employment therewith and pursuant to its established policies, procedures, and practices.




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       10.     Christine Nelson is, and at all material hereto was, a resident of the Clearwater

County, Idaho, owned and/or occupied certain property in Clearwater County adjacent to Plaintiff’s

property on which she resided, and had close personal relationships with the defendants, particularly

with defendants Barlow, Goetz and his wife.

       11.     At all times material hereto, Nelson’s only access to her property was via two roads

that crossed Plaintiff’s property, both of which were controlled by a gate. Nelson’s access on one

of the roads was granted by a deeded easement across Plaintiff’s property. The other was not based

upon an easement but upon a bare license pursuant to revocable permission granted by Plaintiff and

his predecessor in interest.

       12.     In 2018 Nelson and Plaintiff were engaged in civil litigation over the bare license

described above. During the course of or leading up to that dispute, Plaintiff revoked Nelson’s

license and locked the gate to the previously licensed access, but he left Nelson with access to her

property via the easement.

       13.     In response, despite Nelson’s easement access, Nelson repeatedly and continuously

trespassed on Plaintiff’s property via the road and gate for which Nelson’s access had been revoked.

She even tore out Plaintiff’s gate and posts and refused to compensate Plaintiff for the damage.

       14.     Plaintiff reported to the defendants, and attempted to press charges against, Nelson

for her ongoing trespassing and malicious injury to Plaintiff’s property, to no avail. Defendant

Clearwater County expressly refused to get involved in investigating or prosecuting their close

friend, Christine Nelson.




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        15.     On advice of counsel, in order to preserve evidence of Nelson’s ongoing trespassing,

Plaintiff began recording Nelson’s acts of trespass, but from a distance and without confrontation.

        16.     One evening, when Plaintiff was recording Nelson trespassing and attempting to open

Plaintiff’s gate, Nelson exited her vehicle, rushed Plaintiff and sprayed him in the face with mace

or pepper spray, causing him severe injury.

        17.     Plaintiff again reported Nelson’s assault and battery to defendant Clearwater County

law enforcement, again to no avail, but instead maliciously prosecuted him for stalking Nelson.

        18.     In July 2018 the defendants were each personally aware of the ongoing dispute

between Nelson and Plaintiff as described, in part, above.

        19.     On or about July 30, 2018, Plaintiff posted on his gate a written notice to Nelson that

her license to use that particular access was revoked. Nelson nevertheless ripped the notice off the

gate in order and attempted to trespassed on Plaintiff’s property again. Plaintiff refused her access.

Nelson called the defendants and demanded they intervene.

        20.     Defendant Barlow responded at the scene. In the course of interviewing Plaintiff,

Barlow acknowledged she was aware of the ongoing dispute, that Plaintiff had revoked Nelson’s

license, that Nelson had unfettered ability to access to her property via the easement across Plaintiff’s

property, that Plaintiff had wanted Nelson to use the easement instead of the revoked license, that

Plaintiff had committed no assault, battery, nor even presented a threat to Nelson, and that the access

dispute was a “civil matter,” not a criminal matter within the defendants’ jurisdiction.

        21.     Nelson told defendant Barlow that although the gate to the access granted by

easement was unlocked, she did not like to use it because it was bumpy and her vehicle would

“bottom out” on that road.



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       22.     In fact, Plaintiff routinely used the road in his small, two-wheel-drive vehicle with

low ground clearance and was able to do so without significant difficulty, of which he advised

defendant Barlow.

       23.     Nelson did not tell Barlow the road was impassible, and none of the defendants

bothered to inspect the road to make such a determination.

       24.     Instead, defendant Barlow demanded that Plaintiff open his gate and allow Nelson

to trespass on his property, because she thought his refusal was unreasonable and “ridiculous,” and

that they all “just get along,” as she recounted in her written incident report, a true and correct copy

of which is attached hereto as Exhibit 1.

       25.     When Plaintiff did not immediately comply with Barlow’s unlawful command, she

demanded that Plaintiff “unlock this [gate] now or you are going to jail for resisting and

obstructing.” Plaintiff told her he was reaching into his pocket for his phone to record the incident.

Barlow “told him no, [you] are going to jail.” Exhibit 1.

       26.     Defendant Barlow then moved to arrest and handcuff Plaintiff. Plaintiff attempted

to put his cell phone back into his pocket so that it would not get dropped, damaged, lost, or stolen.

He explained this to Barlow. However, Barlow characterized Plaintiff’s attempt as “resisting,” as

a pretext for an arrest which was already in progress. She threatened to tase him if he did not cease

his attempt. Plaintiff complied.

       27.     Plaintiff then volunteered to Barlow that he would open gate in order to avoid arrest.

Defendant Barlow responded that “it is too late.” Exhibit 1.




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        28.     Barlow hand-cuffed Plaintiff too tightly. Plaintiff told Barlow told her “I do not bend

so well” and that the cuffs were painful and too tight. Exhibit 1. Barlow responded: “Chill out, they

would not hurt so much.” Exhibit 1. As a result, Plaintiff’s wrists were seriously injured.

        29.     During the course of and/or after Plaintiff’s arrest, defendant Barlow emptied

Plaintiff’s pockets and placed all the contents on the hood of Plaintiff’s car. None of these items

were in any way related to the alleged crimes for which Barlow arrested him. Nevertheless, she

refused Plaintiff’s request that his wife be allowed to collect them.

        30.     Afterward, defendant Russell arrived, re-cuffed Plaintiff, and while stuffing Plaintiff

into the back of his patrol car forced Plaintiff’s head down with such tremendous force that it

severely injured Plaintiff’s cervical spine. Russell did not do this in order to protect Plaintiff’s head

but as a violent show of authority and intimidation.

        31.     The defendants caused Plaintiff to be arrested, incarcerated, and charged with

knowingly false criminal charges for resisting and obstructing a law enforcement officer and false

imprisonment, without probable cause and in retaliation for Plaintiff being allegedly “unreasonable”

in his lawful refusal to grant the defendants’ close personal friend, Christine Nelson, permission to

trespass on his property.

        32.     Defendants Barlow’s and Russell’s use of force in arresting Plaintiff was

unreasonable and excessive.

        33.     The criminal charges against Plaintiff were eventually dismissed for lack of evidence.

        34.     The defendants’ unlawful conduct as described above was performed in concert,

and/or pursuant to a conspiracy, with Christine Nelson to facilitate her continuing and repeated

unlawful trespass on Plaintiff’s property.


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         35.    The defendants’ unlawful conduct as described above was performed under color of

state law in clear violation of Plaintiff’s rights guaranteed by the Fourth and Fourteenth Amendments

to the United States Constitution and Idaho law.

         36.    The Clearwater County defendants’ unlawful conduct as described above was

proximately caused, in part, by defendant Clearwater County’s adoption, implementation, and/or

enforcement of official policy of Clearwater County, and/or its failure to properly train, control,

and/or supervise their deputies regarding use of force and reliance upon personal friendships rather

than upon probable cause, evidence, law, or accepted law enforcement practices.

         37.    Defendant Russell’s unlawful conduct as described above was proximately caused,

in part, by defendant City of Orofino’s adoption, implementation, and/or enforcement of official City

policy and/or its failure to properly train, supervise and/or control its officers regarding their use of

force.

         38.    As a direct and proximate result of the defendants’ unlawful conduct as alleged

above, Plaintiff has incurred special and consequential damages in the form of thousands of dollars

in posting a bond and hiring legal counsel to obtain a dismissal of the false charges against him, and

in past and future medical and other healthcare expenses for treatment of his physical, mental and

emotional injuries, in amounts to be proven at trial.

         39.    As a direct and proximate result of the defendants’ unlawful conduct as alleged

above, Plaintiff has suffered severe and irreparable physical, mental, and emotional injuries, pain,

suffering, distress, anguish, embarrassment and humiliation, in amounts to be proven at trial.

         40.    Plaintiff timely filed a Notice of Tort Claim as required by the ITCA.




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       41.     Plaintiff timely posted a bond as required by Idaho Code § 6-610.

       42.     The individual defendants’ unlawful acts and omissions as alleged above were

committed with malice within the meaning of Idaho Code § 6-904.

       43.     The defendants’ unlawful misconduct as alleged above was malicious, wanton,

oppressive, and/or in reckless disregard of Plaintiff's federally protected rights, for which Plaintiff

is entitled to an award of punitive damages under 42 U.S.C. §1983.

       44.     The defendants knew or should have known that their actions as alleged above not

only created an unreasonable risk of harm to Plaintiffs and others, but involved a high degree of

probability that such harm would actually result. Consequently, the defendants’ actions constitute

“willful or reckless misconduct” within the meaning of Idaho Code § 6-1603(4)(a).

       45.     The defendants' conduct as alleged above was oppressive, fraudulent, malicious or

outrageous, within the meaning of Idaho Code § 6-1604(a).

       46.     Plaintiff is entitled to recover his reasonable attorney fees incurred in this matter

pursuant to 28 U.S.C. §1988.

       47.     Plaintiff is entitled to an award of prejudgment interest on the special damages he

suffered at the defendants’ hands from the time he incurred or suffered them until judgment is

entered in this matter, pursuant to Idaho Code §28-22-104, at the statutory rate of twelve percent

(12%) per annum.

       48.     Plaintiff demands a trial by jury.

       WHEREFORE, Plaintiff prays for the following judgment and relief against the defendants,

jointly and severally, as follows:




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         1.     For a judicial declaration that the defendants’ act, omissions, and policies were in

violation of Plaintiff's rights secured by the United States Constitution as alleged above.

         2.     For an award of special damages as alleged above, in such amounts to be proven at

trial.

         3.     For an award of general and consequential damages as alleged above, in such amounts

to be proven at trial.

         4.     For an award of punitive damages in such amounts to be proven at trial.

         5.     For an award of Plaintiff’s reasonable attorney fees.

         6.     For an award of prejudgment interest.

         7.     For costs incurred in prosecuting this action.

         8.     For such further relief as this Court deems equitable and just.

         DATED this 21st day of July, 2020.

                                                      WOOD LAW GROUP, PC

                                                      By:        /s/
                                                                 T. Jason Wood, Esq.




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